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U.S. Department of Justice

Federal Bureau of Investigation

In Reply. Please Refer to
File No.

Barry Minkow
5445 Lindley Avenue, #17
Tarzana, California 91356

Dear Barry:

11000 Wilshire Blvd. #1700
Los Angeles, CA 90024
August 4, 1995

This letter is submitted to commend you for an

excellent presentation at
Seminar on July 27, 1995.

the FBI Financial Institution Fraud
Based upon the seminar critiques, your

presentation was viewed by a majority of the attendees as one of

the highlights of the seminar.

Good luck in the second half.

Sincerely yours,

CHARLIE J. PARSONS
Special Agent in Charge

ARE tele

DAVID E. NESBITT
Supervisory Special Agent

H0Z3z<

